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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                           Civ. No.:
--------------------------------------------------------------------X
DANA A. BRYANT,

                                  Plaintiff,
                                                                        COMPLAINT
                 -against-

NEW YORK UNIVERSITY, individually and d/b/a                             Plaintiff Demands a
NYU LANGONE MEDICAL CENTER,                                             Trial by Jury

                                    Defendant.
--------------------------------------------------------------------X


Plaintiff, Dana A. Bryant, by and through her attorneys, PHILLIPS & ASSOCIATES, PLLC,

hereby complains of the Defendant, upon information and belief, as follows:

                                        NATURE OF THE CASE

1. Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

    §2000e et. seq. (“Title VII”), the Americans with Disabilities Act (“ADA”), and to remedy

    violations of the New York Executive Law and the Administrative Code of the City of New

    York based upon the supplemental jurisdiction of this Court pursuant to Gibbs, 38 U.S. 715

    (1966) and 28 U.S.C. §1367, seeking damages to redress the injuries Plaintiff has suffered as

    a result of being harassed and discriminated against by her employer on the basis of her

    disability and/or perceived disability, race, and sex/gender, together with sexual harassment,

    creating a hostile work environment, retaliation, and unlawful termination.



                                     JURISDICTION AND VENUE

2. The Court has jurisdiction pursuant to 42 U.S.C. §2000e et. Seq.; 42 U.S.C. §12101 et. Seq.;

    28 U.S.C. §1331, §1343 and supplemental jurisdiction thereto.

3. This action involves a Question of Federal Law.
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4. Venue is proper in this district based upon the fact that a substantial part of the events or

   omissions giving rise to the claim occurred within the Southern District of the State of New

   York. 28 U.S.C. §1391(b).

5. On or about May 17, 2018, Plaintiff received a Notice of Right to Sue Letter from the EEOC.

6. This action is being brought within ninety (90) days of said Notice of Right to Sue letter.


                                            PARTIES

7. Plaintiff is an African American female resident of the State of New York, County of Queens.

8. Plaintiff suffers from anxiety, depression, and Spasmodic Dysphonia, a voice disorder that

   causes the muscles in her throat to contract and spasm involuntarily and affects the sound of

   Plaintiff’s voice.

9. At all times material, Defendant NEW YORK UNIVERSITY, individually and d/b/a NYU

   LANGONE MEDICAL CENTER (hereinafter “NYU”) is a private, non-for-profit education

   corporation which maintains an academic medical center located in New York City and is duly

   incorporated under the laws of the State of New York.

10. At all times material, Plaintiff was an employee of Defendant NYU.


                                      MATERIAL FACTS

11. On or about August 16, 2016, Plaintiff began working for Defendant NYU as a “Part-Time

   Library Assistant.”

12. In or around early September 2016, an NYU security guard approached Plaintiff while she was

   exiting the restroom and said, “I just wanted to tell you how beautiful you are. Can I take

   you out sometime?” Plaintiff replied that she was in a relationship and returned to her desk.




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13. In or around mid-September 2016, as Plaintiff was walking by the surveillance area, in

   reference to Plaintiff, one security guard shouted to another guard, “I will talk to her after she

   gets her hair done!” The second guard laughed.

14. In or around September 2016, while Plaintiff was seated at her desk, a maintenance employee

   requested the use of a USB port by her desk to charge his cell phone. When he returned for

   his phone, the same employee exclaimed, “She’s ugly!” to a nearby security guard.

15. In or around October 2016, Plaintiff was walking by the main security desk when she overheard

   a female security guard talking to two male security guards. In reference to Plaintiff, the female

   security guard stated, “But I thought you guys liked her?” One guard replied, “From the

   bottom down, but not from the top up!”

16. In or around October 2016, Plaintiff noticed that whenever she walked by the main security

   desk, the security guards would stare and laugh at her. Plaintiff overheard a female guard ask,

   “Why don’t you just leave her alone?” A maintenance employee in a gray hospital uniform

   said, “It’s funny and everyone needs a good laugh every now and then.”

17. In the beginning of October 2016, because of the ongoing harassment and comments based on

   her appearance as a woman, Plaintiff began to suffer from panic attacks and severe migraines.

18. On or about October 17, 2016, Plaintiff called in sick and sought medical treatment for another

   migraine.    Plaintiff’s doctor told her that the headaches were stress related and

   recommended that she seek counseling.

19. From in or around November through December 2016, Plaintiff suffered from gastrointestinal

   problems from the stress of the hostile work environment. In fact, she made several trips to

   Defendant’s pharmacy to purchase medication.




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20. On or about November 3, 2016, Plaintiff overheard a security guard state, “I guess she only

   talks to white boys,” after he witnessed Plaintiff’s Caucasian male partner pick her up from

   work.

21. In or around December 2017, Plaintiff witnessed one security guard nudge another when

   Plaintiff came into their line of view. The second guard replied, “I don’t feel like making fun

   of her today. I’m tired.”

22. In or around January 2017, Plaintiff was forced to take a detour and walk by Defendant’s

   security office because of construction in the building. Plaintiff walked by three security

   guards. In a flirtatious tone, one of the security guards stated, “Leaving so soon?” Plaintiff

   ignored him and continued walking. As Plaintiff was returning to her desk, the same security

   guard exclaimed, in an attempt to intimidate her, “Look at me when I am talking to you!” The

   other guards laughed in response.

23. In or around January 2017, Plaintiff began counseling for her anxiety, depression, and panic

   attacks related to the harassment at work.

24. On or about January 21, 2017, a security guard asked Plaintiff if he could print from one of the

   library’s computers. Plaintiff explained that the library was “paperless” and any printers

   available were for library staff use only. Angered by Plaintiff's response, the guard replied,

   “Anyone can tell that’s a weave” in reference to Plaintiff’s hair.

25. On or about January 25, 2017, Plaintiff reported the harassment to her supervisor and

   Defendant’s Branch Manager, Ashley Curran.           In turn, Ms. Curran reported Plaintiff’s

   complaint to Defendant’s Assistant Director, Aileen McCrillis.




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26. The following day, Plaintiff met with Ms. Curran to discuss the incidents of harassment.

   Plaintiff asked Ms. Curran if there was an alternate exit in the building to bypass the security

   desk. Ms. Curran stated, “Yes, but you shouldn’t have to use it.”

27. On or about January 31, 2017, Plaintiff’s partner was admitted into Defendant’s hospital for

   surgery and was hospitalized for several days.

28. The next day, Plaintiff visited her partner at Defendant’s hospital. While Plaintiff was leaving

   to go home, she overheard one security guard tell another, “[Plaintiff] comes to work every

   day with a busted weave.”

29. On or about February 2, 2017, Plaintiff was accompanied by her male cousin when she visited

   her partner in the hospital. Plaintiff walked by a few security guards and overheard them say,

   “She brought a real ‘nigga’ to work this time. I wonder which one is her boyfriend?”

30. On or about February 8, 2017, Plaintiff met with Evelyn Taveras, Defendant’s Human

   Resources Manager. Plaintiff told Ms. Taveras that the harassment had become more frequent

   and expressed concern that some of the security guards might have learned of Plaintiff’s

   complaint. Ms. Taveras quickly dismissed Plaintiff’s concerns and stated that Plaintiff should

   email her if the harassment continued.        During the conversation, Plaintiff asked about

   transferring to another NYU location. Ms. Taveras replied that she would look into it, but Ms.

   Taveras never contacted Plaintiff again regarding the transfer.

31. Because Plaintiff did not know the names of her harassers, Ms. Taveras casually mentioned

   giving Plaintiff a photo ID line up of the security guards but never actually offered the lineup

   for Plaintiff.

32. Later that day, Plaintiff and her mother visited Plaintiff’s partner at Defendant’s hospital.

   Plaintiff was carrying her cell phone in her hand and walked in front of several security guards



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   when one of them nastily stated, “She better not be taking pictures of us,” in an effort to

   intimidate Plaintiff for her harassment complaints.

33. On or about February 11, 2017, Plaintiff was at her desk when security officer White asked

   her if he could use her desk phone. Plaintiff allowed him use of the phone. After he was

   finished, Mr. White stated into his walkie talkie to another guard, “I don’t want to be accused

   of saying something I didn’t say,” in another effort to ridicule and intimidate Plaintiff.

34. That same day, Mr. White and another guard were walking by Plaintiff as she walked towards

   the restroom. Mr. White held the door for her before the other officer said, “I thought she

   was pretty, but she really looks like a dog.”

35. When Plaintiff returned to her desk, a female security guard stood by the doors and yelled out

   towards the hallway, “Is that the girl y’all are talking about?!”

36. A male security guard walked in the hallway past Plaintiff’s desk and said in an effeminate

   voice, “Stop making fun of my weave.” Later, Plaintiff overheard a comment stating,

   “[Plaintiff] is messing with people’s livelihoods. She’s messing with my money.”

37. In or around the beginning of February 2017, in an effort to show her employer that the

   harassment was compromising her health, Plaintiff gave Ms. Curran a doctor’s note setting

   forth her mental health treatment and the reasons for her absences. Ms. Curran told Plaintiff

   that a doctor’s note was not necessary because she did not take off three days in a row.

38. However, on or about February 15, 2017, Ms. Curran and Ms. McCrillis gave Plaintiff a

   Performance Management and Corrective Action booklet for her alleged excessive absences

   irrespective of Plaintiff’s doctor’s note.

39. On or about February 16, 2017, Plaintiff contacted Ms. Taveras to inform her of additional

   harassing comments made by the security guards and the maintenance employees. Ms. Taveras



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   told Plaintiff there was little she could do because she did not know the names of the employees

   harassing her. In addition, Plaintiff mentioned her concerns that management would retaliate

   against her because of her complaints, especially in light of her meeting with Ms. Curran and

   Ms. McCrillis regarding excessive absences. Ms. Taveras dismissively said there was nothing

   to worry about.

40. In addition, Plaintiff asked why management did not file her doctor’s note. Ms. Taveras replied

   that it was not necessary. Plaintiff then asked Ms. Taveras what Plaintiff’s rights were as a

   complainant of harassment in the workplace. Ms. Taveras replied that she didn’t understand

   the question.

41. The same day, Plaintiff called Defendant’s Internal Audit Compliance and Risk Management

   department to file a report. Plaintiff felt that her complaints were not being properly handled

   and that the harassment and retaliation had intensified. Plaintiff also requested a transfer to

   another position at another NYU location.

42. On or about February 16, 2017, after being informed of Plaintiff’s complaint to Internal Audit

   Compliance and Risk Management, Ms. Taveras immediately retaliated against Plaintiff and

   placed Plaintiff on mandated unpaid sick leave effective February 15, 2017. Plaintiff was told

   that she could not return to work unless she met with a therapist assigned by Defendant and

   the therapist approved Plaintiff’s return to work.

43. Ms. Taveras removed Plaintiff from the workplace in retaliation for escalating the

   discrimination complaints and in order to discriminate against Plaintiff because of her anxiety,

   depression, and Spasmodic Dysphonia. Ms. Taveras believed that Plaintiff’s depression,

   anxiety, and voice disorder made her unfit to work.




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44. Later that day, Ms. Taveras called Plaintiff and gave her the contact information for

   Defendant’s assigned therapist, Lacquita McNickles.

45. Plaintiff later emailed Ms. Taveras asking for documentation regarding their discussions about

   Plaintiff’s harassment complaint and the mandated sick leave. Ms. Taveras replied that she did

   not understand the request and refused to provide any documentation.

46. On or about February 17, 2017, Lacquita McNickles from Corporate Counseling and

   Associates, a third-party clinical administrator, contacted Plaintiff to ask her health-related

   questions. Ms. McNickles scheduled Plaintiff for a therapy session on Wednesday, February

   22, 2017. Plaintiff decided to speak to her own therapist first before going forward with the

   appointment with Ms. McNickles. Therefore, she canceled the appointment with the intent of

   rescheduling in the near future.

47. On or about February 22, 2017, Plaintiff received an email from Ms. Curran that another

   employee was scheduled to work Plaintiff’s shift during Plaintiff’s sick leave.

48. On or about February 24, 2017, Plaintiff was contacted by Kathleen Pecina from Employee

   Labor and Relations. Ms. Pecina told Plaintiff that she was noncompliant with Corporate

   Counseling and Associates. Plaintiff explained to Ms. Pecina that she wanted to speak with

   her own therapist, Dr. Dinelly Holder, before she met with Ms. McNickles. Ms. Pecina told

   Plaintiff that she had two weeks to reschedule the appointment with Ms. McNickles.

49. On or about March 8, 2017, Plaintiff went to her scheduled therapy session with Ms.

   McNickles. Plaintiff told Ms. McNickles that she has Spasmodic Dysphonia, a nerve condition

   that causes the muscles in her throat to contract and spasm involuntarily which affects

   Plaintiff’s voice, especially when she is stressed or anxious. During the session, Plaintiff

   mentioned several incidents of the ongoing harassment. After the session, Ms. McNickles



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   stated that she did not know what to do going forward and would need to speak to her

   supervisor.

50. A few days later, Ms. McNickles called Plaintiff’s therapist, Dr. Holder, to discuss Plaintiff’s

   mental health. Ms. McNickles asked Dr. Holder if Plaintiff was “delusional” or suffered from

   hallucinations. Dr. Holder told Ms. McNickles that Plaintiff suffered from depression and

   anxiety and did not suffer from hallucinations. Dr. Holder stated that Plaintiff’s anxiety levels

   would improve if Plaintiff was moved away from her harassers.

51. Both Dr. Holder and Ms. McNickles stated that Plaintiff was capable of performing her job

   duties.

52. Nevertheless, Defendant once again tried to force Plaintiff to see another mental health

   evaluator to fit Defendant’s narrative that Plaintiff was “delusional” and prevent her from

   returning to work.

53. Defendant NYU tried to falsely portray Plaintiff as delusional in retaliation for her

   discrimination complaints and to further discriminate against her because she suffers from

   anxiety, depression, and Spasmodic Dysphonia.

54. On or about March 13, 2017, at the behest of Defendant, Ms. McNickles called Plaintiff to

   recommend that she see a psychiatrist and receive a mental health evaluation. Ms. McNickles

   stated that Plaintiff could see a psychiatrist of her choosing but that Ms. McNickles would try

   to refer Plaintiff to a psychiatrist that accepted Plaintiff’s insurance.

55. On or about April 5, 2017, Ms. McNickles called Plaintiff with the contact information of a

   psychiatrist that would accept Plaintiff’s insurance. Ms. McNickles further stated that Plaintiff

   was medically cleared to return to work but should make an appointment with a psychiatrist.




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   Plaintiff asked Ms. McNickles if she would be transferred to another position at NYU. Ms.

   McNickles replied that it was up to Defendant’s Human Resources department.

56. Later that day, Plaintiff called Ms. Pecina to ask her about returning to work and being

   transferred to a new position. Ms. Pecina stated that she did not receive any notice about

   Plaintiff returning to work. Ms. Pecina further explained that the medical library was not

   within her jurisdiction and Plaintiff would have to speak with Evelyn Taveras. Plaintiff left a

   message for Ms. Taveras, but never received a call back from her.

57. Plaintiff subsequently called Ms. McNickles and told her that Ms. Pecina never received notice

   of Plaintiff’s return to work. Ms. McNickles stated that that was strange because they primarily

   worked with Ms. Pecina regarding Plaintiff’s paperwork. Ms. McNickles further stated that

   her supervisor spoke to Ms. Taveras about Plaintiff’s return to work. Ms. McNickles told

   Plaintiff that Jay Sandys, Vice President of EAP Operations and Clinical Services at Corporate

   Counseling and Associates, would be contacting Plaintiff shortly.

58. Thereafter, Plaintiff spoke to Mr. Sandys via telephone. Mr. Sandys told Plaintiff that her

   employer had concerns about her mental health and insinuated that Plaintiff was delusional.

   He stated that although she had a therapist and had already met with Ms. McNickles, he wanted

   her to see a psychiatrist so her employer “would get to know her really well.” Plaintiff asked

   Mr. Sandys if Ms. Taveras watched the security cameras around her desk to corroborate her

   allegations and also asked whether she would be transferred to another position when she

   returned to work. Mr. Sandys did not have an answer to either question.

59. Later that day, Mr. Sandys called Plaintiff again and said that he had spoken to Ms. Taveras.

   Ms. Taveras stated that she completed the investigation months ago and will not be opening it




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   up again. Ms. Taveras further admitted that she did not watch the security footage, nor did she

   do a photo lineup of Defendant’s security officers with Plaintiff.

60. Mr. Sandys further told Plaintiff that Defendant had scheduled an appointment for Plaintiff

   with psychiatrist, Dr. David Kreditor. Defendant scheduled the appointment for Plaintiff

   without consulting her and without allowing her to choose her own psychiatrist.

61. Based on Plaintiff’s prior experience with Ms. McNickles and Defendant’s refusal to allow

   Plaintiff to return to work, obtain a transfer, or even investigate Plaintiff’s complaints of

   harassment, Plaintiff cancelled her appointment with Dr. Kreditor and opted to see an impartial

   psychiatrist of her own choosing. Accordingly, Plaintiff scheduled an appointment with Dr.

   Mitchell Rubenstein. Dr. Rubenstein did not view Plaintiff as being “delusional” and did not

   find any basis for Defendant’s mandated leave.

62. Nevertheless, on or about April 11, 2017, Plaintiff received a letter from Ms. Taveras notifying

   Plaintiff that she was being terminated because she was “no longer compliant with

   [Defendant’s] directive,” because she cancelled her appointment with Dr. Kreditor,

   Defendant’s preferred psychiatrist. In her letter, Ms. Taveras also dishonestly described

   Plaintiff’s harassment claims as being limited to comments about Plaintiff’s hair, rather than

   detailing the full scope of Plaintiff’s complaint, including her allegations of sexual harassment.

63. Defendant would not have retaliated against Plaintiff but for her complaints of harassment.

64. Defendant terminated Plaintiff because of her opposition to its unlawful employment practices.

65. Defendant terminated Plaintiff because of her disability and/or perceived disability.

66. Defendant would not have harassed Plaintiff but for her sex/gender, race, and disability and/or

   perceived disability.




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67. As a result of Defendant’s actions, Plaintiff felt extremely humiliated, degraded, victimized,

   embarrassed, and emotionally distressed.

68. As a result of Defendant’s discriminatory and intolerable treatment of Plaintiff, she suffered and

   continues to suffer severe emotional distress and physical ailments.

69. As a result of the acts and conduct complained of herein, Plaintiff has suffered and will continue

   to suffer the loss of income, the loss of a salary, bonuses, benefits and other compensation which

   such employment entails, and Plaintiff has also suffered future pecuniary losses, emotional pain,

   suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

70. As Defendant’s conduct has been malicious, willful, outrageous, and conducted with full

   knowledge of the law, Plaintiff demands Punitive Damages as against the Defendant.


                               AS A FIRST CAUSE OF ACTION
                                     UNDER TITLE VII
                                     DISCRIMINATION

71. Plaintiff repeats, reiterates, and realleges each and every allegation made in the above paragraphs

   of this Complaint as if more fully set forth herein at length.

72. This claim is authorized and instituted pursuant to the provisions of Title VII of the Civil Rights

   Act of 1964, 42 U.S.C. §2000e et seq., as amended, for relief based upon the unlawful

   employment practices of Defendant NYU. Plaintiff complains of Defendant’s violation of

   Title VII’s prohibition against discrimination in employment based, in whole or in part, upon

   an employee’s sex and race.

73. Defendant NYU engaged in unlawful employment practices prohibited by Title VII by

   discriminating against Plaintiff because of her race and sex/gender, together with sexual

   harassment and creating a hostile work environment.




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                              AS A SECOND CAUSE OF ACTION
                                     UNDER TITLE VII
                                      RETALIATION

74. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

75. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-2(a) provides that it

   shall be an unlawful employment practice for an employer:

           “(1) to … discriminate against any of his employees … because he has
           opposed any practice made an unlawful employment practice by this
           subchapter, or because he has made a charge, testified, assisted or
           participated in any manner in an investigation, proceeding, or hearing under
           this subchapter.”

76. Defendant NYU engaged in an unlawful employment practice prohibited by 42 U.S.C. §2000e

   et seq. by discriminating against Plaintiff with respect to the terms, conditions, or privileges of

   employment because of her opposition to the unlawful employment practices of Defendant,

   including but not limited to, terminating Plaintiff’s employment.



                          AS A THIRD CAUSE OF ACTION
                     AMERICANS WITH DISABILITIES ACT (“ADA”)
                                DISCRIMINATION

77. Plaintiff repeats, reiterates, and realleges each and every allegation made in the above paragraphs

   of this Complaint as if more fully set forth herein at length.

78. Plaintiff claims the Defendant violated Titles I and V of the Americans with Disabilities Act

   of 1990, as amended, 42 U.S.C. § 12101 et seq. Section 12112 specifically states:

          General rule. - No covered entity shall discriminate against a qualified individual
          with a disability because of the disability of such individual in regard to job
          application procedures, the hiring, advancement, or discharge of employees,
          employee compensation, job training, and other terms, conditions, and privileges
          of employment.



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79. Defendant NYU engaged in unlawful employment practices prohibited by the ADA by

   discriminating against Plaintiff because of her disability and/or perceived disability, including

   but not limited to, terminating her employment.


                             AS A FOURTH CAUSE OF ACTION
                                   UNDER STATE LAW
                                    DISCRIMINATION

80. Plaintiff repeats, reiterates, and realleges each and every allegation made in the above paragraphs

   of this Complaint as if more fully set forth herein at length.

81. Executive Law § 296 provides that “1. It shall be an unlawful discriminatory practice: “(a) For

   an employer or licensing agency, because of an individual’s race . . . sex…disability and/or

   perceived disability to refuse to hire or employ or to bar or to discharge from employment such

   individual or to discriminate against such individual in compensation or in terms, conditions

   or privileges of employment.”

82. Defendant engaged in an unlawful discriminatory practice by discriminating against the

   Plaintiff because of her disability and/or perceived disability, race, and sex/gender, together

   with sexual harassment, creating a hostile work environment, and unlawful termination.

83. Plaintiff hereby makes a claim against Defendant under all of the applicable paragraphs of

   Executive Law Section 296.


                               AS A FIFTH CAUSE OF ACTION
                                    UNDER STATE LAW
                                       RETALIATION

84. Plaintiff repeats, reiterates, and realleges each and every allegation made in the above paragraphs

   of this Complaint as if more fully set forth herein at length.




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85. New York State Executive Law §296(7) provides that it shall be an unlawful discriminatory

   practice:

           “For any person engaged in any activity to which this section applies to
           retaliate or discriminate against any person because [s]he has opposed any
           practices forbidden under this article.”

86. Defendant engaged in an unlawful discriminatory practice by discharging, retaliating, and

   otherwise discriminating against the Plaintiff because of Plaintiff’s opposition to her

   employer’s unlawful employment practices.


                         AS A SIXTH CAUSE OF ACTION
                UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
                               DISCRIMINATION

87. Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs

   of this Complaint as if more fully set forth herein at length.

88. The Administrative Code of City of NY § 8-107 [1] provides that "It shall be an unlawful

   discriminatory practice: “(a) For an employer or an employee or agent thereof, because of the

   actual or perceived gender . . .race…disability… of any person, to refuse to hire or employ or

   to bar or to discharge from employment such person or to discriminate against such person in

   compensation or in terms, conditions or privileges of employment.”

89. Defendant engaged in an unlawful discriminatory practice in violation of New York City

   Administrative Code Title 8, §8-107(1)(a) by creating and maintaining discriminatory working

   conditions, and otherwise discriminating against the Plaintiff because of her disability and/or

   perceived disability, race, and sex/gender, together with sexual harassment, creating a hostile

   work environment, and unlawful termination.




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                        AS A SEVENTH CAUSE OF ACTION
                UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
                                 RETALIATION

90. Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs

    of this Complaint as if more fully set forth herein at length.

91. New York City Administrative Code Title 8-107(7) provides that:

            “It shall be unlawful discriminatory practice for any person engaged in any
            activity to which this chapter applies to retaliate or discriminate in any
            manner against any person because such person has (i) opposed any practice
            forbidden under this chapter, (ii) filed a complaint, testified or assisted in
            any proceeding under this chapter, (iii) commenced a civil action alleging
            the commission of an act which would be an unlawful discriminatory
            practice under this chapter…”

92. Defendant engaged in an unlawful and discriminatory practice by retaliating against the

    Plaintiff, including but not limited to, terminating Plaintiff’s employment.



WHEREFORE, Plaintiff respectfully requests a judgment against the Defendant:

A. Declaring that the Defendant engaged in unlawful employment practices prohibited by Title VII,

    the ADA, the New York Executive Law, and the Administrative Code of the City of New York;

    and that the Defendant harassed and discriminated against Plaintiff on the basis of her disability

    and/or perceived disability, race, and sex/gender, together with sexual harassment, creating a

    hostile work environment, retaliation, and unlawful termination;

B. Awarding damages to the Plaintiff, retroactive to the date of her actual discharge, for all lost wages

    and benefits resulting from Defendant’s unlawful employment practices;

C. Awarding Plaintiff compensatory damages for mental, emotional and physical injury, distress,

    pain and suffering and injury to her reputation;

D. Awarding Plaintiff punitive damages;



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E. Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of the action;

F. Awarding Plaintiff such other and further relief as the Court may deem equitable, just and proper

   to remedy the Defendant’s unlawful employment practices.


                                           JURY DEMAND

       Plaintiff requests a jury trial on all issues to be tried.


       WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

determined at the time of trial plus interest, punitive damages, attorneys’ fees, costs, and

disbursements of action; and for such other relief as the Court deems just and proper.




Dated: New York, New York
       July 20, 2018

                                                                    PHILLIPS & ASSOCIATES, PLLC
                                                                    Attorneys for Plaintiff


                                                          By:       _______/s/________________
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